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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

 LESLIE URBAS, on behalf of
 herself and on behalf of all
 others similarly situated,

         Plaintiff,

 v.                                              Case Number:

 NUTRITIOUS LIFESTYLES, INC.,
 and JANET MCKEE, an individual,

       Defendant.
 _______________________________/

                      COMPLAINT AND DEMAND FOR JURY TRIAL

         Named Plaintiff LESLIE URBAS, on behalf of herself and all others similarly

 situated , by and through undersigned counsel, hereby sues Defendants NUTRITIOUS

 LIFESTYLES, INC., and JANET MCKEE, in her individual capacity, and states as

 follows:

                               JURISDICTION AND VENUE

         1.      The FLSA authorizes court actions by private parties to recover damages

 for violation of the FLSA’s wage and hour provisions. Jurisdiction over Plaintiff’s FLSA

 claims is based upon 29 U.S.C. § 216(b) and 28 U.S.C. § 1331.

         2.      Venue in this district is proper pursuant to 28 U.S.C. § 1391(b) and (c),

 because a substantial part of the events giving rise to the claims occurred in this jurisdiction.
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                                          PARTIES

        3.       Defendant NUTRITIOUS LIFESTYLES, INC. (“Corporate Defendant

 Nutritious”) is a Florida corporation with its principal place of business in Orlando, Florida.

 Defendant JANET MCKEE (“MCKEE”) is the owner, director, and president of

 NUTRITIOUS LIFESTYLES, INC. In that capacity MCKEE controlled all facets of the

 operation of Corporate Defendant Nutritious, including hiring and firing, setting of wage

 and compensation rates, hours worked, and all employment-related policies.

        4.       Plaintiff LESLIE URBAS is a resident of Jacksonville, Florida.

                               GENERAL ALLEGATIONS

        5.       Plaintiff and similarly situate employees are required to perform work off

 the clock.

        6.       Defendants pay Plaintiff and other employees on an hourly basis and

 classify Plaintiff and other employees as “non-exempt” under the FLSA. The majority of

 Defendant’s workers are full-time employees scheduled to work 40 hours per week.

        7.       Defendant MCKEE implemented a policy that no employee is allowed to

 work overtime.

        8.       However, Plaintiff and all similarly situated employees are required to work

 off the clock to attend meetings, answer emails, and perform works tasks to meet the job

 requirements.

        9.       Consequently, Plaintiff and all similarly situated were and continue to be

 denied compensation for all hours worked.




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        10.     Defendants NUTRITIOUS LIFESTYLES, INC and MCKEE have been

 sued by its employee for FLSA violations in the past, e.g., Weinstein et.al. v. Nutritious

 Lifestyles, Inc., Middle District of Florida, Case No. 6:12-cv-152-ORL-18-KRS, making

 their violations here willful

        11.     As a part of MCKEE’S duties, she exercised complete control over the

 wages and hours of Plaintiff. She also controlled the payroll practices of Defendant

 NUTRITIOUS LIFESTYLES, INC.

        12.     Through the exercise of dominion and control over all employee-related

 matters at NUTRITIOUS LIFESTYLES, INC., in her individual capacity Defendant

 MCKEE is an “employer” within the meaning of the FLSA.

        13.     Defendant’s employees are not allowed to accurately record all of the time

 they work. According to Defendant’s policy, employees must attend meetings, phone

 conferences, answer emails and perform work tasks. A number of critical tasks must be

 performed to meet the requirements of the job. These tasks include (1) logging on to a

 computer; (2) logging on to Defendant’s network; (3) opening relevant computer programs

 and software applications; (4) reviewing memoranda and e-mail; (5) summarizing notes

 from previous telephone calls; and (6) completing other essential tasks. In accordance with

 Defendants’ policy, employees are required, or encouraged to, complete these essential

 tasks without reporting it on their time card if it exceeds 40 hours, at the direction of

 Defendants.

        14.     Employees are not permitted to, or encouraged not to, report any hours that

 exceed 40. Similarly, employees are required to, or encouraged to, clock out immediately


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 once they reach. Because Defendants’ policy is to record only the time that does not exceed

 40, they do not pay their employees for all the integral and indispensable tasks that are

 necessary for employees to perform their job.

        15.     Defendants could easily and accurately record the actual time employees

 spend working, for example, by reporting all compensable time.

        16.     Defendants’ policy and practice fails to pay overtime compensation and

 willfully fails to keep accurate time records. Defendants enjoy ill-gained profits at the

 expense of its hourly employees.

                          COLLECTIVE ACTION ALLEGATIONS

        17.     Plaintiff re-asserts and re-allege the allegations set forth in paragraphs 1

 through 18 above.

        18.     Plaintiff brings Count I, the FLSA claim, as an “opt-in” collective action

 pursuant to 29 U.S.C. § 216(b) defined as follows:

                all current and former hourly employees employed by Defendants

                who have worked at any time during the last three (3) years within

                the United States who were not paid overtime for all hours worked.

        19.     The FLSA claim may be pursued by those who opt-in to this case, pursuant

 to 29 U.S.C. § 216(b).

        20.     Plaintiff, individually and on behalf of all other similarly situated

 employees, seek relief on a collective basis challenging, among other FLSA violations,

 Defendant’s practice of failing to accurately record all hours worked and failing to pay

 employees for all hours worked, including overtime compensation. The number and


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 identity of other plaintiffs yet to opt-in and consent to be party plaintiffs may be determined

 from the records of Defendants, and potential class members may easily and quickly be

 notified of the pendency of this action.

                          COUNT I – FLSA OVERTIME VIOLATION

          21.   Plaintiff re-assert and re-allege the allegations of paragraphs 1 through 20

 above.

          22.   At all times material herein, Plaintiffs is entitled to the rights, protections,

 and benefits provided under the FLSA, 29 U.S.C. §§ 201, et seq.

          23.   The FLSA regulates, among other things, the payment of overtime pay by

 employers whose employees are engaged in interstate commerce, or engaged in the

 production of goods for commerce, or employed in an enterprise engaged in commerce or

 in the production of goods for commerce. 29 U.SC. § 27(a)(1).

          24.   Defendants are subject to the overtime pay requirements of the FLSA

 because they are in an enterprise engaged in interstate commerce and their employees are

 engaged in commerce.

          25.   Defendants violated the FLSA by failing to pay for overtime. In the course

 of perpetrating these unlawful practices, Defendants have also willfully failed to keep

 accurate records of all hours worked by their employees.

          26.   Section 13 of the FLSA, codified at 29 U.S.C. § 13, exempts certain

 categories of employees from overtime pay obligations. None of the FLSA exemption

 apply to Plaintiff or employees.




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         27.     Plaintiff, and all similarly situated employees, are victims of a uniform and

 facility-wide compensation policy. Upon information and belief, this uniform policy, in

 violation of the FLSA, has been applied to all employees in Defendant’s company.

         28.     Plaintiff and all similarly situated employees are entitled to damages equal

 to the mandated overtime premium pay within the three years preceding the filing of this

 Complaint, plus periods of equitable tolling, because Defendants acted willfully and knew,

 or showed reckless disregard of whether their conduct was prohibited by the FLSA.

         29.     Defendants have acted neither in good faith nor with reasonable grounds to

 believe that their actions and omissions were not a violation of the FLSA, and as a result,

 thereof, Plaintiffs and other similarly situated employees are entitled to recover an award

 of liquidated damages in an amount equal to the amount of unpaid overtime pay described

 pursuant to Section 16(b) of the FLSA, codified at 29 U.S.C. § 216(b). Alternatively,

 should the Court find Defendants did not act willfully in failing to pay overtime pay,

 Plaintiff and all similarly situated employees are entitled to an award of prejudgment

 interest at the applicable legal rate.

         30.     As a result of the aforesaid willful violations of the FLSA’s overtime pay

 provisions, overtime compensation has been unlawfully withheld by Defendants from

 Plaintiff and all similarly situated employees. Accordingly, Defendants are liable pursuant

 to 29 U.S.C. § 216(b), together with an additional amount as liquidated damages, pre-

 judgment and post-judgment interest, reasonable attorneys’ fees, and costs of this action.

         WHEREFORE, Plaintiff and all similarly-situated employees demand judgment

         against Defendants and pray for: (1) compensatory damages; (2) liquidated


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       damages; (3) attorneys’ fees and costs as allowed by Section 16(b) of the FLSA;

       (4) pre-judgment and post-judgment interest as provided by law; (5) notice to be

       sent to all eligible employees of their right to participate in this case; (6) a

       declaration that Defendant’s policy violates the FLSA; (7) corrective notice; and

       (8) such other relief as the Court deems fair and equitable.

                                JURY TRIAL DEMAND

       Plaintiff demands trial by jury as to all issues so triable.


       Dated this 23rd day of July, 2019.

                                               Respectfully submitted,




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